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 Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 1 of 12 PageID: 10




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA              :       SUPERSEDING
                                               CRIMINAL COMPLAINT
       V.
                                               Honorable James B. Clark, III
 MIKHAIL VASILIEV
                                               Mag. No. 22-12370




       I, Andrew Feiter, being duly sworn, state the following is true and correct
to the best of my knowledge and belief:

                             SEE ATTACHMENT A

      I further state that I am a Special Agent with the Federal Bureau of
Investigation, and that this complaint is based on the following facts:

                             SEE ATTACHMENT B



                              s/Andrew Feiter
                        Andrew Feiter
                        Special Agent
                        Federal Bureau of Investigation
                        Special Agent Andrew Feiter attested to this Affidavit by
                        telep hone pursuant to FRCP 4. 1(b)(2)(A).



Sworn to before me telephonically
on December 1, 2022



Honorable James B. Clark, III
United States Magistrate Judge                   Signre of Judicial Officer



                                           1
 Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 2 of 12 PageID: 11




                                      ATTACHMENT A

                                  COUNT 1
              (Conspiracy to Commit Fraud and Related Activity in
                 Connection with Computers 18 U.S.C. § 371)
                                                        -




      From at least as early as in or around September 2019 through at least as
recently as in or around October 2022, in the District of New Jersey and
elsewhere, the defendant,

                                    MIKHAIL VASILIEV,

did knowingly and intentionally conspire and agree with others to commit
offenses against the United States, that is:

       a.     to knowingly cause the transmission of a program, information,
code, and command, and as a result of such conduct, intentionally cause
damage without authorization to a protected computer, and cause loss to
persons during a one-year period from a related course of conduct affecting
protected computers aggregating at least $5,000 in value, and cause damage
affecting 10 or more protected computers during a one-year period, contrary to
Title 18, United States Code, Section 1030(a) (5) (A), (c) (4) (A) (i) (I), (c) (4) (A) (i) (VI),
and (c)(4)(B)(i); and

       b.     to knowingly and with intent to extort from any person any money
and thing of value, transmit in interstate and foreign commerce any
communication containing a threat to obtain information from a protected
computer without authorization and to impair the confidentiality of information
obtained from a protected computer without authorization and by exceeding
authorized access, and a demand and request for money and other thing of value
in relation to damage to a protected computer, where such damage was caused
to facilitate the extortion, contrary to Title 18, United States Code, Section
1030(a)(7)(B), (a)(7)(C), and (c)(3)(A).

       In violation of Title 18, United States Code, Section 371.




                                               2
 Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 3 of 12 PageID: 12




                                COUNT 2
 (Intentional Damage to a Protected Computer         —   18 U.S.C. § 1030(a)(5)(A))

      On or about November 21, 2021, in Essex County, in the District of New
Jersey, and elsewhere, the defendant,

                               MIKHAIL VASILIEV,

did knowingly cause the transmission of a program, information, code, and
command, and, as a result of such conduct, intentionally cause damage
without authorization to a protected computer, and the offense caused loss to
persons during a 1-year period from the defendant’s course of conduct affecting
protected computers aggregating at least $5,000 in value.

        In violation of Title 18, United States Code, Sections 1030(a)(5)(A) and
(c)(4)(B)(i), and 2.




                                         3
 Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 4 of 12 PageID: 13




                               COUNT 3
 (Transmitting a Demand in Relation to Damaging a Protected Computer            —



                         18 U.S.C. § 1030(a)(7))

      On or about November 21, 2022, in Essex County, in the District of New
Jersey, and elsewhere, the defendant,

                               MIKHAIL VASILIEV,

did, knowingly and with intent to extort from persons money and other things
of value, transmit in interstate and foreign commerce a communication
containing a threat to obtain information from a protected computer without
authorization and to impair the confidentiality of information obtained from a
protected computer without authorization and by exceeding authorized access,
and a demand and request for money and other thing of value in relation to
damage to a protected computer, where such damage was caused to facilitate
the extortion.

        In violation of Title 18, United States Code, Sections 1030(a)(7)(B),
(a)(7)(C), and (c)(3)(A), and 2.




                                         4
 Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 5 of 12 PageID: 14




                               COUNT 4
           (Conspiracy to Commit Wire Fraud       -   18 U.S.C. § 1349)

      From at least as early as in or around September 2019 through at least as
recently as in or around October 2022, in the District of New Jersey and
elsewhere, the defendant,

                              MIKHAIL VASILIEV,

did knowingly and intentionally conspire and agree with others to devise a
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and
for the purpose of executing such scheme and artifice to defraud, to transmit
and cause to be transmitted by means of wire communications in interstate
and foreign commerce, writings, signs, signals, and sounds, contrary to Title
18, United States Code, Section 1343.

      In violation of Title 18, United States Code, Section 1349.




                                       5
 Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 6 of 12 PageID: 15




                                ATTACHMENT B

       I, Andrew Feiter, am a Special Agent with the Federal Bureau of
Investigation (the “FBI”). I am fully familiar with the facts set forth herein based
on my own investigation, my conversations with other law enforcement officers,
and my review of reports, documents, and photographs of the evidence. Where
statements of others are related herein, they are related in substance and part.
Because this complaint is being submitted for a limited purpose, I have not set
forth each and every fact that I know concerning this investigation. Where I
assert that an event took place on a particular date, I am asserting that it took
place on or about the date alleged.

             Background on the LockBit Ransomware Campaign
                      and Related Technical Matters

      1.    At times relevant to this Complaint:

             a.    Ransomware was a type of maiware used by cybercriminals to
      encrypt data stored on a victim’s computer system, leaving that data
      inaccessible to and unusable by the victim, and to transmit data stored on
      a victim system to a remote computer, or both. Following a ransomware
      attack, perpetrators typically demanded a ransom payment from their
      victims, threatening to either leave encrypted data unusable, to publish or
      sell stolen data if the demanded ransom was not paid, or both.

             b.    “LockBit” was a ransomware variant that first appeared at
      least as early as in or around January 2020. Between then and the
      present, members of the LockBit conspiracy have executed at least around
      1,000 LockBit attacks against victim systems both in the United States
      and around the world, making at least approximately $100 million in
      ransom demands to victims and receiving at least as much as tens of
      millions of dollars in actual ransom payments. In many instances, LockBit
      perpetrators have posted highly confidential and sensitive data stolen from
      LockBit victims to a publicly available website under their ownership and
      control (the “LockBit Data Leak Site”). In this way, LockBit has become
      one of the most active and destructive ransomware variants in the world.

             c.   The FBI has been investigating the LockBit conspiracy since
      in or around March 2020.

            d.    This investigation has established that the LockBit variant,
     like other ransomware variants, operated through the “ransomware-as-a
     service” model (“RaaS”).     The RaaS model comprises two groups of
     ransomware perpetrators: developers and affiliates. The developers design
     the ransomware and then recruit affiliates to deploy it. The affiliates, in
     turn, identify vulnerable computer systems, unlawfully access those
     systems, and deploy on those systems the ransomware designed by the

                                        6
Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 7 of 12 PageID: 16




    developers. When victims make ransom payments after successful
    ransomware attacks, the developers and the affiliates each take a share of
    those payments.

          e.    Based on training, experience, and investigation, it is widely
    known—including to LockBit conspiracy members themselves—that the
    LockBit campaign employs the RaaS model and that the LockBit
    conspiracy comprises numerous affiliates all seeking to deploy LockBit on
    victim computer systems for profit.

           f.     Moreover, and like other ransomware variants, this
    investigation has established that the LockBit variant relies on a “control
    panel” for its operation. In the ransomware context, a “control panel” is a
    software dashboard made available to an affiliate by the developers to both
    provide that affiliate with tools necessary for the deployment of
    ransomware attacks and to allow developers to monitor their affiliates’
    activities. The LockBit control panel allowed affiliates, among other things,
    to develop custom builds of the LockBit ransomware for particular victims;
    to communicate with LockBit victims for ransom negotiation; and to
    publish data stolen from LockBit victims to the LockBit Data Leak Site.

          g.    The LockBit perpetrators hosted much of the LockBit
    infrastructure, including the various LockBit control panels and the
    LockBit Data Leak Site, on the dark web. The “dark web” comprises
    Internet content that requires specialized software or configurations to
    access and is intended for anonymous and untraceable online
    communication.

            h.    This investigation has also established that once a new
    affiliate joined the LockBit conspiracy, that affiliate was given their own
    control panel hosted at a unique domain name on the dark web.

           i.    The defendant, MIKHAIL VASILIEV, was a dual national of
    both Russia and Canada and lived in Bradford, Ontario, Canada. As
    detailed below, the investigation has established that VASILIEV was a
    member of the LockBit conspiracy. VASILIEV used a number of monikers
    as part of his cybercriminai activities, including Moniker-i.

          j.     Cobalt Strike was a network penetration software platform. It
    was used legitimately by network engineers and professionals to simulate
    a network intrusion and assess the susceptibility of a given system to such
    an intrusion. It was also frequently used by cybercriminals such as
    VASILIEV to gain and maintain access to a victim computer system,
    including to prepare a victim system for the deployment of ransomware.
    Users controlled their deployed instances of Cobalt Strike through a
    collaborative user platform called a “team server.”


                                      7
 Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 8 of 12 PageID: 17




             k.     More specifically, Cobalt Strike, once deployed by a
      cybercriminal on a victim computer system, was both designed and used
      by the cybercriminal to either evade detection by the system’s owner
      entirely or otherwise appear to the owner as a benign and routine process.

                  The LockBit Conspiracy (Counts 1 and 4)

      2.    In or about August 2022, members of Canadian law enforcement
executed a search of VASILIEV’s home in Bradford, Ontario, Canada (the “August
2022 Search”).

      3.    During the August 2022 Search, Canadian law enforcement
discovered a file named “TARGETLIST” stored on a device in VASILIEV’s home
that contains a list of what appears to be either prospective or historical
cybercrime victims. One victim included on that list was Victim-i, a business in
Essex County, New Jersey that suffered a confirmed LockBit attack on or about
November 21, 2021.

      4.    During the August 2022 Search, Canadian law enforcement also
discovered, stored on devices in VASILIEV’s home:

            a.    screenshots of message exchanges on the Tox end-to-end-
     encrypted messaging platform. Certain of these screenshots appear to
     capture Tox exchanges with the Tox username “LockBitSupp.”
     “LockBitSupp” appears to be shorthand for “LockBitSupport;” both are
     monikers known to law enforcement to be used on multiple platforms by
     one or more members of the LockBit conspiracy. In these exchanges, the
     primary user (and presumably the user who captured the screenshots)
     discussed with “LockBitSupp” multiple topics related to the LockBit
     conspiracy, including the status of stolen data stored on the LockBit
     server; communications with victims; the LockBit control panel; and a
     particular LockBit victim in Malaysia, which suffered a confirmed LockBit
     attack in or around November 2021.

            b.    a text file with the heading “LockBit Linux/ESXi locker V: 1.1”
     that includes what appear to be instructions for the deployment of LockBit
     against a victim system.

            c.    source code for a program designed to encrypt data stored on
     a Linux-based computer system. Law enforcement has learned through
     this investigation that members of the LockBit conspiracy have sought at
     various points during the conspiracy to enable LockBit to be deployed on
     such systems.

          d.    photographs of a computer screen showing usernames and
     passwords for various platforms belonging to employees of a LockBit victim


                                       8
 Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 9 of 12 PageID: 18




      in Canada, which suffered a confirmed LockBit attack in or about January
      2022.

       5.    On or about October 26, 2022, members of Canadian law
enforcement executed a further search of VASILIEV’s home (the “October 2022
Search”). Upon entering the home, Canadian law enforcement discovered
VASJLIEV sitting in the garage at a table with a laptop computer (the “VASILIEV
Laptop”). Canadian law enforcement then restrained VASILIEV before he was
able to lock the VASILIEV Laptop.

      6.    On the VASILIEV Laptop, Canadian law enforcement discovered a
browser window with multiple tabs open, including a tab pointed to a site named
“LockBit LOGIN” and hosted at a particular dark web domain (the “LockBit
Domain”). The site displayed a login screen requesting a login and a password,
along with the LockBit logo—the same LockBit logo that is consistently used
elsewhere by the LockBit conspiracy, for example, on the LockBit Data Leak Site.

      7.    Based on training, experience, and investigation, I believe that the
site hosted at the LockBit Domain was a LockBit control panel. Among other
bases supporting this belief:

            a.    Law enforcement analyzed the memory of the device on which
     VASILIEV had open the browser tab pointed to the LockBit Domain. That
     analysis showed that that device had previously navigated to subdomains
     within the LockBit Domain, including “/logout”, “/page#builder”,
     “/ page#builder/ builder_red”, “/page#chats”, and “/ page#stats”. The fact
     that these subdomains of the LockBit Domain had successfully been
     accessed from this device in the past demonstrates that VASILIEV had
     working credentials for the LockBit Domain. Moreover, the phrases
     “builder,” “chats,” and “stats” all relate to functions that I know based on
     training, experience, and investigation to be provided by the LockBit
     control panel.

            b.    Moreover, shortly after the October 2022 Search, law
     enforcement attempted to navigate to the LockBit Domain and, rather than
     observing the same login screen found on VASILIEV’s device, received a
     message requiring the entry of a private key to connect to that domain.
     The fact that VASILIEV’s device displayed the login screen for the LockBit
     Domain demonstrates that VASILIEV had already successfully entered a
     private key at that preliminary authentication stage allowing him to
     connect to that domain.

           c.     I know that only members of the LockBit conspiracy—that is,
     LockBit developers or LockBit affiliates—would have access to any site
     bearing the LockBit name and logo and asking for login and password
     credentials, and that such a site would be a LockBit control panel. LockBit


                                       9
 Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 10 of 12 PageID: 19




      victims, for example, do not receive LockBit login and password credentials
      at any point.

       8.    On the VASILIEV Laptop, law enforcement also discovered a window
actively connected to and displaying a Cobalt Strike team server. That window
showed that Cobalt Strike had been deployed against multiple victim computer
systems and was routinely—on the order of between seconds and minutes—
exchanging transmissions with those victim systems. That window showed that
the Cobalt Strike process deployed locally on those victim systems bore the name
of a standard Microsoft Windows system process in order to evade detection by
the owners of those systems. That window showed, finally, that at least one
other user also had access to the same Cobalt Strike infrastructure.

       9.   During the October 2022 Search, Canadian law enforcement
discovered in VASILIEV’s home a seed phrase for a Bitcoin wallet address.
Bitcoin is a virtual currency that allows users to make payments from, and
receive payments into, Bitcoin addresses under their control. Bitcoin users, in
turn, can organize and store multiple Bitcoin addresses into Bitcoin wallets,
some of which employ seed phrases as a master recovery key.

       10.  Through investigation, law enforcement identified the Bitcoin wallet
associated with the seed phrase found during the October 2022 Search
(“VASILIEV Wallet-i”). Law enforcement analyzed payments to VASILIEV Wallet
 1 by analyzing the Bitcoin blockchain, the publicly available ledger of all
transactions conducted in Bitcoin. That analysis revealed that, on or about
February 5, 2022, a Bitcoin address within the VASILIEV Wallet-i received a
payment of approximately 0.80574055 BTC. That analysis further revealed that
those funds originated from a ransom payment of 2.8759 BTC made around six
hours earlier by a confirmed LockBit victim to a wallet address provided by the
LockBit conspirators.

                          Victim-i (Counts 2 and 3)

      ii.   Law enforcement has confirmed that Victim-i suffered a LockBit
attack in or around November 2021. As explained above, during the August
2022 Search, law enforcement discovered Victim-i identified on a file named
“TARGETLIST” saved on a device found in VASILIEV’s home.

      12.   Shortly after this attack, Victim-i discovered a ransom note left by
the LockBit perpetrators on its compromised system that read, in relevant part:

      LockBit 2.0 Ransomware

      Your data are stolen and encrypted
      The data will be published on TOR website [hyperlinks to the LockBit
      data leak site] if you do not pay the ransom


                                      10
 Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 11 of 12 PageID: 20




      You can contact us and decrypt one file for free on these TOR sites
      [hyperlinks to other LockBit-maintained sites]

       13.   This note was saved on Victim-i’s system by the LockBit
perpetrators in a text file named “Restore-My-Files.txt”. This investigation has
revealed that LockBit attacks typically transmit ransom demands to victims in
this fashion and in text files bearing this filename. Specifically, this investigation
has revealed that the LockBit payload, once deployed by a perpetrator on a victim
system, automatically generates the “Restore-My-Files.txt” file containing the
ransom note and stores it on the victim system on a location accessible to the
victim system’s owner.

       14.    Since the October 2022 Search, law enforcement has reviewed the
data that was both locally and remotely accessible to the VASILIEV Laptop at the
time of its seizure. Specifically, law enforcement has reviewed the memory of a
remote server to which the VASILIEV Laptop was connected at the time of its
seizure (the “Remote Server Memory”). Through that review, law enforcement
has discovered stored in the Remote Server Memory:

             a.     The       following        string:       “LockBit_247K_[Victim-
       1].com_20. 1 1.21 .zipC:/Users/[Moniker
      11/Documents/cp.local/LockBit_247K_[Victim- 1].com_20. 11.21 .zip”.
      Based on my training and experience, and the facts I have learned in this
      investigation, I believe that this string points to a zip file that was used in
      furtherance of or in connection with the November 2021 LockBit attack
      against Victim-i. And because this zip file appears to have been saved in
      a location identified by Moniker-i, a VASILIEV moniker, I believe that
      VASILIEV had control over this file.

             b.    The following string: “note [Victim-1].com *• Based on my
      training and experience, and the facts I have learned in this investigation,
      I believe that this string identifies a Cobalt Strike command—in this case,
      a Cobalt Strike command directed to a Cobalt Strike process that had
      already been deployed on Victim-i’s system.

                                     Victim-2

       15.   Law enforcement has confirmed that Victim-2, a business in
Macomb County, Michigan, suffered a LockBit attack on or about January 20,
2022. As with Victim-i, Victim-2 discovered shortly after the attack a ransom
note left on its compromised system by the LockBit perpetrators. And as with
Victim-i, that ransom note was named “Restore-My-Files.txt” and was
substantially identical to the ransom note sent to Victim-i.

     16.    Law enforcement has discovered stored in the Remote Server
Memory:

                                        ii
Case 2:22-mj-12370-JBC Document 4 Filed 12/01/22 Page 12 of 12 PageID: 21




            a.    The        following        string:       “C:\Users\[Moniker
      1]\Documents\LockBit_[Victim-2]4 5.01 .22\Restore-My-Files.txt”.
      Based on training, experience, and investigation, I believe that this string
      points to a copy of the ransom note transmitted to Victim-2 after the
      January 2022 LockBit attack. As explained above, the ransom notes
      transmitted to LockBit victims are typically named “Restore-My-Files.txt.”

            b.   A string containing the public-facing IP address of a Victim-2
      computer, as well as the email address of Victim-2’s information
      technology manager. Based on training, experience, and investigation, I
      know that LockBit perpetrators often research their victims’ operations
      and personnel to, among other things, both facilitate the deployment of
      ransomware ransom and inform ransom negotiations with victims.

       17.   During the October 2022 Search, law enforcement discovered in
VASILIEV’s home an additional seed phrase for a Bitcoin wallet address. As with
VASILIEV Wallet-i, through investigation, law enforcement identified the Bitcoin
wallet associated with this additional seed phrase (“VASILIEV Wallet-2”).

       18.  On or about January 21, 2022, and following ransom negotiations
with the LockBit perpetrators, Victim-2 made a payment of around 1.8 BTC to
VASILIEV Waflet-2.




                                      12
